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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 CLAUDETTE LOZANO, and                        Case No: 22-cv-00612
 DAVID PRICE,
                                              Hon. Jane M. Beckering
        Plaintiffs,
                                              Mag. Judge Phillip J. Green
 v.

 SCRIPPS MEDIA, INC.,

        Defendant.
                                                                             /

 Noah S. Hurwitz (P74063)               Elizabeth Hardy (P37426)
 Grant M. Vlahopoulos (P85633)          Sonja Lengnick (P67101)
 Kara F. Krause (P85487)                David Porter (P76785)
 HURWITZ LAW PLLC                       KIENBAUM HARDY VIVIANO
 Attorneys for Plaintiffs               PELTON & FORREST, P.L.C.
 617 Detroit St., Suite 125             Attorneys for Defendant
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 kara@hurwitzlaw.com                    slengnick@khvpf.com
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_____________________________________________________________________________/


      DEFENDANT’S MOTION FOR PERMISSION TO HAVE CO-COUNSEL
                 ATTEND SETTLEMENT CONFERENCE
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      Defendant Scripps Media, Inc., by its counsel, Kienbaum Hardy Viviano Pelton

& Forrest, P.L.C., moves this Court for permission to have co-counsel attend the

settlement conference, and in support says:

      1.     Defendant Scripps Media, Inc., is represented by the law firm Kienbaum

Hardy Viviano Pelton & Forrest, PLC. Appearances have been filed by lead counsel,

Elizabeth Hardy, and co-counsel Sonja Lengnick and David Porter.

      2.     The Court has scheduled a settlement conference for September 18,

2023. The Court’s Order Regarding Settlement Conference states that, “[u]nless

excused by a showing of good cause, the attorney who is to conduct the trial shall

attend the settlement conference[.]”

      3.     Ms. Hardy, lead trial counsel, is scheduled to be in trial in another

matter, Deanna Johnson v Ford Motor Co., No. 19-cv-10167 (E.D. Mich.), before

Judge Gershwin A. Drain, beginning on September 14, 2023. Trial was originally

scheduled for August 22, 2023, but was adjourned because of scheduling conflicts by

the Court. The trial is expected to last two weeks.

      4.     Because of Ms. Hardy’s scheduling conflict, and out of an abundance of

caution, Scripps requests leave to have co-counsel, David Porter, attend the

settlement conference. Mr. Porter will participate as co-counsel at any trial in this

matter, in addition to lead counsel, Ms. Hardy. He was the primary drafter of the

discovery- and dispositive-motion briefing, and he represented Scripps at both

hearings regarding Plaintiffs’ discovery motions. He is also familiar with the parties’

settlement negotiation history.


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      Therefore, based on good cause shown, Scripps requests permission to have

Mr. Porter attend the settlement conference as Scripps’ representative.

                                      Respectfully submitted,

                                      KIENBAUM HARDY VIVIANO
                                      PELTON & FORREST, P.L.C.

                                      By:    /s/ David Porter
                                         Elizabeth Hardy (P37426)
                                         Sonja Lengnick (P67101)
                                         David Porter (P76785)
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Dated: September 7, 2023              dporter@khvpf.com




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                          CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2023, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system which will send
notification of such filing to all parties of record.


                                        /s/ David Porter
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